AFFIDAVIT IN SUPPORT

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IN THEUNITED STATES DISTRICT COURT

FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

)
MICHAEL DUKE REEVES Case No.
Vs. ) AFFIDAVIT IN SUPPORT OF
ORDER TO SHOW CAUSE FOR
) PRELIMINARY INJUNCTION
AND TEMPORARY
UNITED STATES OF AMERICA ) RESTRAINING ORDER
)
Ls My name is Michael Duke Reeves.
De, I am a resident of North Carolina, am above the age of twenty-one (21)

and am not subject to any legal disabilities. I make the following statements of on

my own personal knowledge.

3. I am a private citizen, who once embarked on a legal battle against a
federal agency, ultimately emerging victorious and prompting a pending second

settlement.

4. Since then, my life and my business have been under unnecessary

scrutiny. Misuses of surveillance warrants, including but not limited to, FISA

(Foreign Intelligence Surveillance Act), warrants have led to invasive surveillance

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that infringes upon my personal freedoms.

3, This supposed intelligence gathering that this warrant was to be used for
is not leading to improvements in national security, it's being used to smear my
image, destroy my business reputation, take away important documents like vehicle
Titles, harass and follow me with drones and invade my personal life - actions

perpetuated by the very institutions meant to protect us.

6. I recount a story that seems cut from a dystopian novel, but it is my

reality and begs for the intervention of this Honorable Court.

Ds Two years ago, I began to notice a permeating sense of eeriness.
Personal and business items were disappearing. Strange tapping sounds from the
walls and windows began to pervade my once peaceful home in New York, making

my nights an ordeal of constant unrest.

8. The menace wasn't just confined to my home - it followed me
persistently from hotel to hotel across New Jersey. My disquiet was no imaginary
phantasm - I was being hounded by men from the Immigration and Customs

Enforcement (ICE), working under a surveillance warrant.

0. The dam broke when the police informed me that they were impotent in

addressing my plight, because the men following me were working from a federal

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surveillance warrant, as evidenced from a report I filed at an extended stay in East

Rutherford, NJ.

10. Two years ago, I began to notice a permeating sense of eceriness.
Personal and business items were disappearing. Strange tapping sounds
from the walls and windows began to pervade my once peaceful home in

New York, making my nights an ordeal of constant unrest.

11. The harassment escalated to the point where plaintiff was forced to
abandon his home in New York and live a transient life, moving from hotel
to hotel across New Jersey. Tragically, the disturbing phenomenon followed

him even there.

12. The menace wasn't just confined to his home - it followed me
persistently from hotel to hotel across New Jersey. His disquiet was no
imaginary phantasm - I was being hounded by men from the Immigration
and Customs Enforcement (ICE), working under a surveillance warrant. The
dam broke when I recognized that even the local police were impotent in
addressing my plight, as evidenced from a report I| filed at an extended stay

in East Rutherford, NJ.

13. MHorrified, Plaintiff sought refuge in his car, and eventually fled back

home to North Carolina. But the relentless invasion of my privacy and

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peace was omnipresent. They even convinced my landlord to grant them
access to my residence. They have installed surveillance in his home and

his business.

14. They are at my home 24 hours, every single night intimidating, using
sleep deprivation techniques, making disturbing sounds, noises, flashing
lights into plaintiff’s home, illegally entering his car and leaving vehicle

doors open in the middle of the night and the list goes on.

ES,

16. I have video footage and surveillance photos of these people using
human intelligence, electronic surveillance, intimidation, smearing image

and even drones.

17.  Ispent Christmas Night sleeping in his vehicle at the Walmart Parking
Lot due to the harassment brought on by the surveillance warrant being
misused to settle the score. They have interacted with my neighbors and
business associates to smear

18. To this day, I am still being chased by surveilling drones (above head

right now) that continually harass him round-the-clock.

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19. This is no life; no person should have to face these fear-inflicting and
psychologically crippling tactics. We must not allow such invasive, unchecked
authority that erodes our fundamental right to privacy and a sense of security in our
own homes. This situation calls for immediate legal scrutiny and sanctions to curb

alarming misuse of surveillance power getting use as a weapon of torture.

20. In addition to these inexplicable occurrences, I, an innocent citizen with
no connections to any intelligence resources, found myself the victim of constant
attacks using unknown sensory devices. My heart would race, my safety felt
constantly threatened, and fear became a daily companion.

21. No rational person that looks at this case would believe that I am a
person of any value to the intelligence community.

22. The surveillance is unjust and inhumane.

23. It is an invasion of my life and my privacy.

24. It is being conducted in retaliation against me for suing the agency.

25. While the purpose behind the Foreign Intelligence Surveillance Act
(FISA) bill is to monitor foreign intelligence information between foreign powers
and agents of foreign powers suspected of espionage or terrorism, it seems to have
deviated from its intended goal in my case.

26. Statistics indicate an alarming degree of misuse of the FISA bill.
According to a report by the Electronic Frontier Foundation, the FISA court rejected
no surveillance requests from U.S. authorities between 1979 and 2013 (Source:

Electronic Frontier Foundation). This indicates a potential misuse of power under the

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FISA Act, placing innocent civilians like me under distressing surveillance and
harassment.

27. This petition calls the United States to cease any further surveillance
pending a final resolution of the complaint alleged by the Order.

28. Jam asking for a thorough investigation into and an immediate halt of
such practices against me.

29. Jam requesting that this court closely scrutinize the processes for
obtaining surveillance warrants, ensuring they serve their intended purpose, and to

protect me from invasive surveillance and harassment.

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“Dee. KOO , declares that all of the above statements are

TRUE AND CORRECT SS the penalty of perjury.

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NOTARY

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Michab) Duke (Reeve

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